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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   JEFFREY MORRIS,

                           Plaintiff,

   v.                                                            Case No: 6:14-cv-161-Orl-31GJK

   AMAZON PROCESSING, LLC,

                           Defendant.


                                                 ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:       MOTION TO SET ASIDE (Doc. No. 12)

             FILED:        April 22, 2014



             THEREON it is ORDERED that the motion is GRANTED. The default at Doc.
             11 is VACATED.

             Pursuant to Fed. R. Civ. P. 41(a), it is hereby ORDERED that this case is dismissed with

   prejudice, each party to bear its own fees and costs. The Clerk is directed to close this file.

             DONE and ORDERED in Orlando, Florida on May 12, 2014.




                                                                                                         

   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
